Case 23-13359-VFP          Doc 2967      Filed 04/12/24 Entered 04/12/24 13:22:11                        Desc Main
                                        Document     Page 1 of 2



           UNITED STATES BANKRUPTCY COURT
           DISTRICT OF NEW JERSEY
                                                                              Order Filed on April 12, 2024
           WILENTZ, GOLDMAN & SPITZER, P.A.                                   by Clerk
           90 Woodbridge Center Drive                                         U.S. Bankruptcy Court
           Suite 900, Box 10                                                  District of New Jersey

           Woodbridge, New Jersey 07095-0958
           DAVID H. STEIN, ESQ.
           Telephone: (732) 636-8000
           Attorneys for Levtex LLC
           In re:                                                           Chapter 11

           BED BATH & BEYOND INC., et al.,                                  Case No. 23-13359 (VFP)

                                                    Debtors.1               (Jointly Administered)

                                                                            Hearing Date: April 9, 2024


                    ORDER ALLOWING THE GENERAL UNSECURED CLAIM OF
                    LEVTEX LLC______________________________________________


                    The relief set forth on the following pages, numbered two (2) through two (2) is

       ORDERED.




  DATED: April 12, 2024




       1     The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of
             the Debtors in these Chapter 11 Cases and each such Debtor’s tax identification number may be obtained on the
             website of the Debtors’ claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The location of
             Debtor Bed Bath & Beyond Inc.’s principal place of business and the Debtors’ service address in these
             Chapter 11 Cases is 650 Liberty Avenue, Union, New Jersey 07083.



       #14137676.2 181699.001
Case 23-13359-VFP        Doc 2967    Filed 04/12/24 Entered 04/12/24 13:22:11              Desc Main
                                    Document     Page 2 of 2
       Bed Bath & Beyond Inc., et al.
       Case No. 23-13359 (VFP)
       Caption of Order: Order Allowing The General Unsecured Claim of Levtex LLC
       Page 2

       ____________________________________________________________________________________________



               This matter having come before the Court by way of a Notice of Motion for an Order

       Allowing the General Unsecured Claim of Levtex LLC [Docket No. 2705] (the “Motion”) filed

       by Wilentz, Goldman & Spitzer, P.A., as attorneys for Levtex LLC (“Levtex”), and after due

       consideration of the moving papers, the opposition papers [Docket Nos. 2892 & 2939] filed by

       the Plan Administrator on behalf of Debtors and Debtors’ estates by and through his counsel,

       Pachulski, Stang, Ziehl & Jones, LLP, and the arguments of counsel as heard on the record on

       the return date of the Motion, and the Court having found that the goods that are the subject of

       Levtex’s request for administrative status pursuant to Bankruptcy Code section 503(b)(9) (the

       “Goods”) were drop-shipped directly from Levtex to the Debtors’ customers and accordingly,

       the Goods were not “received by the debtor” for the purpose of 11 U.S.C. § 503(b)(9), and for

       good cause having been shown:

               IT IS HEREBY ORDERED:

                        Levtex’s Proof of Claim filed as Claim No: 3942 in the amount of $395,484.69

       be and the same hereby is deemed allowed, in full, as a general unsecured claim against the

       Debtors’ estates; and

                        The Clerk of the Court and/or the duly appointed claims agent for the Debtors’

       estates shall mark the applicable claims register to indicate that Levtex’s Proof of Claim filed as

       Claim No: 3942 as set forth above is hereby deemed allowed as a general unsecured claim and

       Levtex shall not be required to take any further action in these proceedings; and

                        Levtex’s request for allowance of administrative expense priority under 11 U.S.C.

       § 503(b)(9) in the amount of $73,754.69 be and the same hereby is denied.



       #14137676.2 181699.001
